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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        MIAMI DIVISION

                                           CASE NO.:

                                  AT LAW AND IN ADMIRALTY


  JANE DOE,

           Plaintiff,

  vs.

  CARNIVAL CORPORATION
  d/b/a CARNIVAL CRUISE LINE,

         Defendant.
  _________________________________/

                                 COMPLAINT FOR DAMAGES

          COMES NOW the Plaintiff, JANE DOE, hereby sues the Defendant, CARNIVAL

  CORPORATION d/b/a CARNIVAL CRUISE LINE, and files this Complaint, and alleges:

                                   GENERAL ALLEGATIONS

        1. This is an action seeking damages in excess of seventy-five thousand dollars

           ($75,000.00), exclusive of interest, costs, and attorney’s fees.

        2. Federal subject matter jurisdiction arises under and is by virtue of the admiralty

           or maritime jurisdiction pursuant to 28 U.S.C.§ 1333 and § 1332, and is being

           filed in Federal Court as required by the venue selection clause in the Passenger

           Contract Ticket issued by the Defendant.

        3. The Plaintiff, JANE DOE, is sui juris, and is a citizen and permanent resident of

           Kitsap County, Washington.

        4. The Defendant, CARNIVAL CORPORATION d/b/a CARNIVAL CRUISE LINE

           (hereinafter “CARNIVAL”), was and is a foreign corporation with its principal place



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        of business in Miami, Florida. At all times material hereto, the Defendant owned

        and/or operated the cruise ship on which the subject accident occurred.

     5. The Defendant, at all times material hereto, personally or through an agent, in

        the County and in the District in which this Complaint is filed:

        a. Operated, conducted, engaged in or carried on a business venture in this state

           and/or county; and/or

        b. Had an office or agency in this state and/or county; and/or

        c. Engaged in substantial activity within this state; and/or

        d. Committed one or more of the acts stated in Florida Statutes, Sections 48.081,

           48.181 or 48.193;

     6. All conditions precedent for filing and maintaining this action have been fulfilled,

        have been waived, or do not apply.

                       ALLEGATIONS COMMON TO ALL COUNTS

     7. DATE OF INCIDENT. The incident occurred on or about Saturday, December 1,

        2018.

     8. LOCATION OF INCIDENT. The incident occurred on the vessel in a maintenance

        closet onboard the Carnival Miracle, a ship in navigable waters while the Plaintiff

        was a passenger aboard. Accordingly, the Plaintiff’s claims are governed by the

        General Maritime Law.

     9. STATUS OF PLAINTIFF AS OF DATE AND TIME OF INCIDENT. At all times

        and material hereto, the Plaintiff was a passenger on the subject cruise ship

        described herein and, accordingly, was an invitee while on the vessel.          The

        Plaintiff does not have a copy of the subject ticket but the Defendant does.

     10. BACKGROUND FOR THE INCIDENT: THE BUSINESS MODEL; FAILURE TO

        SCREEN, TRAIN, SUPERVISE AND MONITOR. CARNIVAL chooses to hire its



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        crew from third world countries or from countries where the economy is bleak

        and the unemployment rate is high.          CARNIVAL chooses to hire from these

        countries to pay low wages and to get a willing workforce to work on a ship away

        from home for months at a time and for 7 days a week, often 12 to 14 hours a

        day. For background checks, CARNIVAL utilizes agents or “hiring partners” in

        these countries and relies on the “hiring partners” in the third world country to

        obtain background information on these candidates. But the investigation into

        the background and history of the prospective crew member in these countries,

        because of the lack of infrastructure, cannot be complete or verified.

     11. CARNIVAL    then   fails   to    examine    and   test—reasonably   under   these

        circumstances - the applicants for a job which involves a high level of close

        contact with the public. CARNIVAL also fails to train these crewmembers well,

        and then fails to monitor the crewmembers. CARNIVAL’S failure to select, train,

        and control its male crew members and/or officers to refrain from sexual conduct

        with female passengers is disastrous in combination with CARNIVAL giving its

        male crewmembers unfettered access throughout the vessel. Even while knowing

        that female passengers may walk around dark areas of the vessel at night, as

        DOE did, CARNIVAL fails to provide a safe environment for them. CARNIVAL

        fails to protect its passengers from sexual assault, battery and rape by its crew

        members and/or officers.         CARNIVAL fails to warn female passengers that

        CARNIVAL’s male crew members represent a danger to female passengers and

        fails to provide safeguards against sexual assault.

     12. CARNIVAL hires male crew members and/or officers who are from a variety of

        different cultures, many of which do not have a progressive view towards women’s

        rights and provide zero education on the necessity of consent for sex. These crew



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        members and/or officers are away from their wives and girlfriends for months at

        a time. The crew members and/or officers are inadequately screened and trained

        to interact with female passengers on its cruise ships. The cruise line’s alleged

        “zero tolerance” policy for fraternization between crew and passengers and/or

        officers is not implemented and enforced on the cruise ships.

     13. The actions and conduct of CARNIVAL in hiring the personnel it hires, in failing

        to perform any real background checks, in failing to reasonably and properly

        screen or test the employees or prospective employees; in failing to reasonably

        and properly train its employees; in failing to reasonably and properly monitor

        and supervise the activities of these employees, in failing to monitor the pool

        decks in late at night; in failing to monitor dark public areas late at night; in

        failing to put into place a system where the passengers have real and direct

        access to security; in failing to properly man the ship with a sufficient number of

        security officers so that a sufficient number can be on duty at night to patrol the

        ship and deter this type of activity; in failing to restrict access to dark areas when

        CARNIVAL has a history of crewmember assault, battery, sexual battery, and

        rape of passengers and knows about the conditions under which its labor force

        operates caused or contributed to the cause this incident and therefore the

        injuries and damages of DOE.

     14. DOE did not consent to the sexual attack described herein.

     15. DESCRIPTION OF THE INCIDENT:             On or about December 1, 2018, one of

        CARNIVAL’s employees sexually assaulted DOE.

     16. At the time she was sexually assaulted, DOE was a 21 year old female traveling

        with a friend and her friend’s family.

     17. This was the first cruise DOE had ever joined.



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     18. On the last night of the subject cruise, DOE went up a stairwell. At the top was

        a CARNIVAL employee.

     19. Once DOE reached the top of the stairs, the subject employee lured DOE into a

        closet.   He went inside the closet with her, locked the door, raped her, and

        ejaculated on her.

     20. Thereafter he unlocked the closet door and let DOE leave.

     21. DOE immediately rushed away, towards her room. The assailant caught up to

        her and asked her to allow him back in her room. DOE declined his request.

        Once DOE reached her room, she burst into tears and told her friend what had

        just happened.

     22. DOE and her friend went to find help and report what had happened.

     23. DOE started hyperventilating and having panic attacks.

     24. DOE located employees of Defendant to report the crime.

     25. The cruise’s staff members placed DOE in a wheelchair and took her to the ship’s

        medical facility where staff utilized a rape kit on her and gave her medications to

        consume in order to fight sexually transmitted diseases she may have obtained

        during the rape.

     26. Ship security questioned DOE and FBI agents came on the ship and questioned

        DOE. DOE correctly identified CARNIVAL's rapist employee.

     27. DOE gave a statement while being video recorded by CARNIVAL.

     28. DOE was subjected to numerous episodes of humiliation following the medical

        examination where she had to walk through dozens of passengers who were

        waiting to disembark the ship. They were ogling her as she passed through them

        in just a t-shirt as she was not provided any fresh clothes to wear.




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     29. Following the cruise, DOE followed up with CARNIVAL to see if the subject

        employee had been fired, if any disciplinary action was taken, and/or if he was

        arrested. CARNIVAL did not respond.

     30. The subject employee’s acts were intentional, willful, wanton, outrageous, and in

        reckless disregard and indifference of the rights of DOE.

     31. The subject employee’s acts were intentional and calculated. He took advantage

        of the ship's failure to have meaningful security.

     32. Following the incident CARNIVAL refused to provide DOE with access to: all video

        showing her with the assailant; any witness statements that were completed at

        CARNIVAL's request; a video that CARNIVAL recorded of DOE speaking.

     33. THESE ACTIONS ARE A BASIS FOR PUNITIVE DAMAGES. These actions by

        CARNIVAL whereby it hires crew members using the business model described

        above, in failing to perform any real background checks; in failing to reasonably

        and properly screen or test the employees or prospective employees; in failing to

        reasonably and properly train its employees; in failing to reasonably and properly

        monitor and supervise the activities of these employees; in failing to monitor the

        pool decks late at night; in failing to monitor dark public areas late at night; in

        failing to put into place a system where the passengers have real and direct

        access to security; in failing to properly man the ship with a sufficient number of

        security officers so that a sufficient number can be on duty at night to patrol the

        ship and deter this type of activity; in failing to restrict access to dark areas when

        CARNIVAL has a history of crewmember assault, battery, sexual battery, and

        rape of passengers and knows about the conditions under which its labor force

        operates is "wanton, willful or outrageous conduct", and conduct which is owing

        to gross negligence and "willful, wanton and reckless indifference for the rights



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        of others", all of which constitute a basis for punitive damages against CARNIVAL

        under the General Maritime Law.

     34. Further, the perpetrator was unfit to be a seaman who had access to passengers

        late at night in dark, public areas of the ship, and CARNIVAL was reckless in

        employing and retaining him. This also constitutes a basis for punitive damages

        against CARNIVAL under the General Maritime Law.

     35. DUTIES OWED BY THE DEFENDANT TO ITS PASSENGERS IN REGARDS TO

        SEXUAL ASSAULT AND BATTERY. The general maritime law, state and federal,

        imposes a strict liability on the common carrier, including the cruise line herein,

        for sexual assault, sexual battery and rape.   This is a “special non-delegable duty

        owed by the carrier to the passenger”. Doe v. Celebrity Cruises, Inc., 394 F. 3d 891,

        907 (11th Circuit 2004); New Orleans and N.E.R. Co. v. Jopes, 142 U.S. 18, 12 S.Ct.

        109, 35 L.Ed. 919 (1891); New Jersey Steam-Boat Co. v. Brockett, 121 U.S. 637, 7

        S.Ct. 1039, 30 L.Ed. 1049 (1887); thus, the cruise line has an “unconditional

        responsibility”   for its employee's misconduct. Tullis v. Fidelity and Casualty

        Company of New York, 397 F. 2d 22, 23 (5th Cir. 1968) as cited by the 11th Circuit

        in Doe v. Celebrity Cruises Inc., 394 F. 3d at 909. Stated otherwise, “it is a widely

        adopted rule that common carriers owe such an absolute duty to their passengers”.

        Morton v. De Oliveira, 984 F. 2d 289, 291-92 (9th Cir. 1993) as cited in Doe v.

        Celebrity Cruises Inc. 394 F. 3d at 911. See, Nadeau v. Costley, 634 S. 2d 649,

        652-3 (Fla. 3d DCA 1994) and Commodore Cruise Line, Ltd. v. Kormendi, 344 S. 2d

        896 (Fla. 3d DCA 1977).

     36. DUTIES OWED BY THE DEFENDANT TO ITS PASSENGERS IN GENERAL. The

        Defendant owes a “duty to exercise reasonable care for the safety of its passengers”

        including the Plaintiff herein. See, Hall vs. Royal Caribbean Cruises, Limited, 888



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        So.2d 654 (Fla. 3d DCA 2004).          The Defendant also owes a “duty to exercise

        reasonable care under the circumstances”. See, Harnesk vs. Celebrity Cruise Lines,

        Inc, 1992 AMC 1472, 1991 WL 329584 (S.D. Fla. 1991). The Defendant’s “duty is

        to warn of dangers known to the carrier in places where the passenger is invited to,

        or may reasonably be expected to visit.” See, Carlisle vs. Ulysses Line Limited, S.A.,

        475 So. 2d 248 (Fla. 3d DCA 1985).

     37. The cruise line is directly negligent for negligently hiring, training, and retaining the

        subject employee. Further, the cruise line is directly negligent for its negligent

        misrepresentations in its literature, website, and videos about the existence and

        quality of its crew and/or officers and services provided by the crew and/or officers.

        See, e.g., Fojtasek v. NCL (Bahamas) Ltd., 613 F. Supp. 2d 1351, 1355 (S.D. Fla.

        2009). Further, the cruise line here voluntarily assumed or voluntarily undertook

        to provide safety and security and reasonably safe and well-trained employees for

        its passengers, and thus created a duty to provide these services with reasonable

        care under the circumstances. See, e.g., Goldberg v. Florida Power and Light

        Company, 899 So. 2d 1105 (Fla. 2005); Kerfoot v. Waychof, 501 So. 2d 588 (Fla.

        1987); Horton v. Freeman, 943 So. 2d 1016 (Fla. 4th DCA 2006); Estate of Sharp

        v. Omnicare, Inc., 879 So. 2d 34 (Fla. 5th DCA 2004); and Roos v. Morrison, 913

        So. 2d 59 (Fla. 1st DCA 2005).

     38. BASES OF THE DUTIES OWED. The duties of CARNIVAL in this case are created

        by:

        a. The General Maritime Law as stated above in regard to the duty to exercise

              reasonable care for the safety of passengers and the non-delegable duty to

              provide safe passage to its passengers;




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        b. The cruise line’s voluntarily undertaking to provide safety and security for its

            passengers, security personnel, security cameras and surveillance, and

            security processes and procedures onboard its ships; and

        c. The facts surrounding this situation, which in addition to the allegations

            above, include:

          i.    There is a special relationship between CARNIVAL and the perpetrator of the

                attack on the Plaintiff; CARNIVAL employed the perpetrator onboard the

                cruise ship operated by CARNIVAL at the time of the attack and CARNIVAL

                provided to the perpetrator room and board on the cruise ship, training for

                his job, and sponsorship for the necessary visas to work on the subject

                foreign flagged vessel.   CARNIVAL therefore had a duty to control the

                conduct of the perpetrator;


         ii.    There is a special relationship between CARNIVAL and the Plaintiff herein;

                CARNIVAL is a common carrier of passengers for hire and the Plaintiff at the

                time of the attack was a passenger onboard the Carnival Miracle cruise ship;


         iii.   The place and character of the business of CARNIVAL is such that there

                is a special or peculiar temptation or opportunity for criminal misconduct

                affecting the passengers where the crewmembers are men, from third

                world countries, working 7 days a week, 12 to 14 hours/day, living and

                working onboard the cruise ship and without physical contact with and

                away from their families and wives for months at a time, and surrounded

                at all times by relaxed, vacationing young women; The cruise line has

                knowledge of and allows for male crew to fraternize with female passengers;


         iv.    The place and character of the business of CARNIVAL is such that



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                CARNIVAL should reasonably anticipate criminal conduct on the part of the

                crew;


          v.    The past experience of CARNIVAL is such that CARNIVAL should

                reasonably anticipate criminal conduct on the part of the crew. CARNIVAL

                has knowledge that crew members over the years before this incident

                engaged in crimes onboard CARNIVAL cruise ships including assault,

                battery, sexual assault, sexual battery, and rape on passengers and on

                other crewmembers;


         vi.    CARNIVAL affords its crew, these men, with access to dark public areas of

                the ship that are frequented by passengers including female passengers

                and specifically DOE herein;


         vii.   A cruise is a situation in which the crewmembers and the passengers are

                isolated on a ship in an open ocean and a dependent on the cruise line to

                prevent and protect against crime committed by crew members;


        viii.   A cruise is a situation where a passenger and crewmembers have a

                justifiable expectation of being safe at all times on public spaces.


         ix.    CARNIVAL employs adult men from cultures with different views on women

                and sex including from Indonesia, the country of origin of the perpetrator

                crewmember herein;


          x.    CARNIVAL has knowledge of and allows for male crew members to

                fraternize with female passengers;


         xi.    CARNIVAL does not have onboard a governmental police force; Security

                onboard its ships is provided by employees of the cruise ship;


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         xii.    CARNIVAL by its representations online, in print and other advertising,

                 and in its literature represents that it will undertake to provide security

                 for a safe and secure environment for passengers;


         xiii.   CARNIVAL has voluntarily undertaken to provide security officers,

                 security keys, surveillance, security equipment, and security procedures

                 onboard;


         xiv.    CARNIVAL knows that passengers onboard are vacationing. Because of

                 that and because of CARNIVAL’s advertising, passengers including the

                 Plaintiff herein let their guard down and travel in dark, public areas of

                 the ship late at night while onboard; and


          xv.    CARNIVAL in an effort to save money and make more profits hires poorly

                 educated, poorly trained crewmembers from third world countries, such

                 as the country from which the subject crewmember was from, so that

                 CARNIVAL can pay these crewmembers low wages which U.S. and other

                 workers would not tolerate or accept. These countries, such as Indonesia

                 where the perpetrator crewmember herein was from, have third world

                 infrastructure and poor criminal and vocational record keeping.        The

                 result is that CARNIVAL cannot obtain in depth or accurate background

                 checks on the prospective crewmembers, which is especially important

                 because    CARNIVAL    does   not   administer   personality   or   related

                 psychological testing to the prospective or newly hired crewmembers.


         COUNT I - DIRECT LIABILITY OF CARNIVAL: NEGLIGENT HIRING,
       SCREENING, SUPERVISING, MONITORING, TRAINING, AND RETAINING

      39. The Plaintiff, JANE DOE, hereby adopts and re-alleges each and every allegation



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         in paragraphs 1 through 38, above.

      40. This is an action for CARNIVAL’S negligent hiring, screening, supervising,

         monitoring, training, and retaining. CARNIVAL owes to its passengers a duty to

         use reasonable care under the circumstances. Those duties and the facts and

         special relationships creating those duties are more fully described above.

      41. CARNIVAL knew or in the exercise of reasonable care should have known that

         on board its cruise ships there have been numerous assaults, batteries, sexual

         assaults and batteries, rapes, and attacks perpetrated by crew on passengers.

         Given the circumstances of the hiring process, the job itself, and the conduct of

         the crew onboard the ships—more fully described herein— assault, battery, and

         sexual assault and battery by crew members is an ongoing and repetitive

         problem and therefore foreseeable.

      42. The Defendant cruise line breached its duty to exercise reasonable care under

         the circumstances by its actions and conduct including but not limited to the

         following:

         a. Failing to hire crew only from countries with infrastructure which ensures

            in depth and accurate criminal, vocational, mental health, and other

            background checks and investigation;

         b. Failing to screen reasonably and accurately people applying for a crew

            position or crewmembers after they are hired for criminal, vocational, mental

            health, and other background information through reasonable and proper

            investigation and testing;

         c. Failing to supervise and monitor the activities of crewmembers onboard its

            ships especially crewmembers who have access to passengers in the dark,

            public areas of the ship, with personnel, electronic means, appropriate rules



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              and procedures, and/or proper enforcement of rules and procedures;

         d. Failing to train and counsel its crewmembers and their supervisors all during

              the employment to follow rules and procedures, to stay out of and away from

              passengers in the dark, public areas of the ship, to respect female

              passengers, to report crew or passenger misconduct or other issues, and to

              refrain from assaults, batteries, and sexual assaults and batteries;

         e. Failing to retain crewmembers reasonably under these circumstances by

              evaluating crew reasonably, timely, and in sufficient depth and by taking

              action on the evaluations of currently employed crewmembers for problems,

              rule and procedure violations, and tendencies toward assaults and batteries;

         f. Failing otherwise to fulfill representations made by CARNIVAL on its website,

              online, in their literature, and otherwise about the safety and security of

              passengers in the dark, public areas of the ship;

         g. Failing otherwise to make, create, and maintain a safe environment for

              passengers in the dark, public areas of the ship, including the Plaintiff

              herein;

         h. Failing to comply with applicable industry and other standards, statutes,

              and/or regulations the violation of which amounts to negligence per se

              and/or evidence of negligence and/or; and

         i.   Failing to comply with applicable industry standards, statutes, and/or

              regulations which invokes the Pennsylvania Rule and shifts the burden of

              proof to the Defendant in the proof of negligence or proof of the absence of

              negligence.

      43. CARNIVAL by failing to hire, screen, monitor, supervise, train, and retain

         crewmembers reasonably and properly proximately caused and allowed this



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         attack and the injuries and damages suffered by the Plaintiff. The injuries and

         damages suffered by the Plaintiff as a result of the negligence of the Defendant

         include but are not limited to economic damages in the past and in the future

         on a permanent basis including but not limited to expenses for medical and

         psychological care and treatment, household and other expenses, past lost

         income, and future loss of the ability or capacity to earn income; and non-

         economic damages in the past and in the future on a permanent basis including

         bodily injury, pain, suffering, mental anguish, loss of the enjoyment of life,

         physical impairment and disability, inconvenience, scarring, and disfigurement,

         all of which in the past and in the future.

         WHEREFORE, the Plaintiff demands judgment against CARNIVAL for all

      damages to which she is entitled under the General Maritime Law and otherwise

      including but not limited to economic damages suffered in the past and in the future

      on a permanent basis by the Plaintiff including but not limited to expenses for

      medical and psychological care and treatment, household and other expenses, loss

      of income, and loss of the ability and capacity to earn income in the future; non-

      economic damages including but not limited to bodily injury, pain, suffering, mental

      anguish,   loss   of   the   enjoyment   of   life,   physical   impairment,   disability,

      inconvenience, scarring, and disfigurement; punitive damages; all court costs; all

      interest which accrues from the date of the incident on all economic and non-

      economic damages under the General Maritime Law; and any and all other damages

      which the Court deems just and proper.

                        COUNT II - DIRECT LIABILITY OF CARNIVAL:
                        NEGLIGENT PROCEDURES AND OPERATIONS
      44. The Plaintiff JANE DOE, hereby adopts and re-alleges each and every allegation

         in paragraphs 1 through 38, above.


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      45. This is an action for negligent procedures and operations. CARNIVAL owes to its

         passengers a duty to use reasonable care under the circumstances. Those duties

         and the facts and special relationships creating those duties are more fully

         described above.

      46. CARNIVAL knew or in the exercise of reasonable care should have known that

         onboard its cruise ships there have been numerous assaults, batteries, sexual

         assaults and batteries, rapes, and attacks perpetrated by crew on passengers.

         Given the circumstances of the hiring process, the job itself, and the conduct of

         the crew onboard the ships—more fully described herein— assault, battery, and

         sexual assault and battery by crew members is an ongoing and repetitive problem

         and therefore foreseeable to take place in any place to which the crew has access,

         which in this case is the dark public area of the ship on or by the Lido Deck.

      47. CARNIVAL    breached    its   duty   to   exercise   reasonable   care   under   the

         circumstances by its actions and conduct including but not limited to the

         following:

         a. Failing to make, create, and maintain a safe environment for passengers,

            including the Plaintiff herein, in all dark, public areas of the ship;

         b. Failing to fulfill their representations made in their literature, website, online,

            and otherwise about the safety and security of passengers onboard;

         c. Failing to prevent its crewmembers from committing crimes or violent acts to

            passengers onboard;

         d. Failing sufficiently to monitor and supervise the conduct, activities, and

            whereabouts of its crew onboard its own cruise ship especially crew such as

            the perpetrator of this event who had access to passengers in the dark, public

            areas of the ship;



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        e. Failing to implement reasonable and proper procedures for the safety and

             security of the passengers onboard the ship including the safety of female

             passengers;

        f. Failing to warn female passengers that the ship is not a safe place, that there

             are predators among CARNIVAL’S crew, and that the security systems and

             personnel onboard ship were not adequate to protect passengers from

             crewmembers attacking passengers in dark, public areas of the ship;

        g. Failing to have video surveillance in maintenance closets and other areas to

             allow the vessel to monitor the activities of its crew and to deter crew from

             committing crimes and violent acts onboard;

        h. Failing to otherwise monitor or keep track of crewmembers especially those

             crew who have access to passengers late at night in dark, public areas of the

             ship;

        i.   Failing to prevent crew from engaging in assaults, batteries, sexual assaults

             and batteries, and rape onboard the subject vessel;

        j.   Failing to recruit crew from countries where proper and reliable background

             checks into criminal, vocational, and mental health histories can be obtained;

        k. Failing to reasonably and properly screen crew members who would have

             access to passengers late at night in dark, public areas of the ship;

        l.   Failing to provide sufficient rules, regulations, policies, and/or procedures for

             CARNIVAL employees regarding interaction with passengers and regarding

             access to passengers in dark, public areas of the ship;

        m. Failing to reasonably and properly enforce rules, regulations, policies and

             procedures for CARNIVAL employees regarding interaction with passengers

             and regarding access to passengers in dark, public areas of the ship;



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         n. Failing to implement reasonable and proper methods of preventing crime by

            CARNIVAL employees;

         o. Failing to comply with applicable industry and other standards, statutes,

            and/or regulations the violation of which negligence per se and/or evidence

            of negligence;

         p. Failing to implement reasonable and proper procedures for the safety and

            security of the passengers onboard the ship including but not limited to

            security policies and procedures commensurate with the type of business

            conducted therein, namely an isolated party ship where passengers have a

            reasonable and justifiable expectation of feeling safe in all areas accessible to

            the public on the ship;

         q. Failing to have reasonable and proper methods of preventing crime to be

            committed by crewmembers sexually assaulting passengers in dark, public

            areas of the ship;

         r. Failing to take additional security measures after being put on notice that the

            security measures in force are inadequate;

         s. Failing to implement a method of operation which was reasonable and safe

            and would prevent dangerous conditions such as the one in this case; and

         t. Failing to comply with applicable industry standards, statutes, and/or

            regulations which invokes the Pennsylvania Rule and shifts the burden of

            proof to the Defendant in the proof of negligence or proof of the absence of

            negligence.

      48. CARNIVAL by its negligent procedures and operations proximately caused and

         allowed this rape and the injuries and damages suffered by the Plaintiff. The

         injuries and damages suffered by the Plaintiff as a result of the negligence of the



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         Defendant include but are not limited to economic damages in the past and in

         the future on a permanent basis including but not limited to expenses for medical

         and psychological care and treatment, household and other expenses, past lost

         income, and future loss of the ability or capacity to earn income; and non-

         economic damages in the past and in the future on a permanent basis including

         bodily injury, pain, suffering, mental anguish, loss of the enjoyment of life,

         physical impairment and disability, inconvenience, scarring, and disfigurement,

         all of which in the past and in the future.

      WHEREFORE, the Plaintiff demands judgment against CARNIVAL for all damages to

   which she is entitled under the General Maritime Law and otherwise including but not

   limited to: economic damages suffered in the past and in the future on a permanent

   basis by the Plaintiff including but not limited to expenses for medical and psychological

   care and treatment, household and other expenses, loss of income, and loss of the ability

   and capacity to earn income in the future; non-economic damages including but not

   limited to bodily injury, pain, suffering, mental anguish, loss of the enjoyment of life,

   physical impairment, disability, inconvenience, scarring, and disfigurement; punitive

   damages; all court costs; all interest which accrues from the date of the incident on all

   economic and non-economic damages under the General Maritime Law; and any and

   all other damages which the Court deems just and proper.


                       COUNT III - DIRECT LIABILITY OF CARNIVAL:
                     NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
      49. The Plaintiff JANE DOE, hereby adopts and re-alleges each and every allegation

         in paragraphs 1 through 38, above.

      50. This is an action for negligent infliction of emotional distress. CARNIVAL engaged

         in negligent conduct. The Defendant had a duty to provide for the safety of its



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        passengers and to avoid the infliction of emotional distress of its passengers,

        including in dark, public areas of the ship. CARNIVAL breached its duties and

        acted unreasonably under the circumstances by its actions and conduct

        including but not limited to the following:

        a. Failing to make, create, and maintain a safe environment for passengers in

           dark, public areas of the ship, including the Plaintiff herein;

        b. Failing to fulfill their representations made in their literature, website, online,

           and otherwise about the safety and security of passengers onboard;

        c. Failing to prevent its crewmembers from committing crimes or violent acts to

           passengers onboard;

        d. Failing sufficiently to monitor passenger activity, especially in the middle of

           the night;

        e. Failing sufficiently to monitor and supervise the conduct, activities, and

           whereabouts of its crew onboard its own cruise ship especially crew such as

           the perpetrator of this event who had access to passengers in dark, public

           areas of the ship;

        f. Failing to implement reasonable and proper procedures for the safety and

           security of the passengers onboard the ship including the safety of female

           passengers;

        g. Failing to warn female passengers that the ship is not a safe place, that there

           are predators among CARNIVAL’S crew, and that the security systems and

           personnel onboard ship were not adequate to protect passengers from

           crewmembers attacking passengers in dark, public areas of the ship;;




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        h. Failing to have video surveillance in maintenance closets, and other areas, to

             allow the vessel to monitor the activities of its passengers and crew and to

             deter crew from committing crimes and violent acts onboard;

        i.   Failing to otherwise monitor or keep track of crewmembers especially those

             crew who have access to passengers in dark, public areas of the ship;

        j.   Failing to prevent crew from engaging in assaults, batteries, sexual assaults

             and batteries, and rape onboard the subject vessel;

        k. Failing to recruit crew from countries where proper and reliable background

             checks into criminal, vocational, and mental health histories can be obtained;

        l.   Failing to reasonably and properly screen crew members who would have

             access to passengers late at night in dark, public areas of the ship;

        m. Failing to provide sufficient rules, regulations, policies, and/or procedures for

             CARNIVAL employees regarding interaction with passengers and regarding

             access to passengers in dark, public areas of the ship;;

        n. Failing to reasonably and properly enforce rules, regulations, policies and

             procedures for CARNIVAL employees regarding interaction with passengers

             and regarding access to passengers in dark, public areas of the ship;

        o. Failing to implement reasonable and proper methods of preventing crime by

             CARNIVAL employees;

        p. Failing to comply with applicable industry and other standards, statutes,

             and/or regulations the violation of which amounts to negligence per se and/or

             evidence of negligence;

        q. Failing to implement reasonable and proper procedures for the safety and

             security of the passengers onboard the ship;




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         r. Failing to have reasonable and proper methods of preventing crime to be

            committed by crewmembers in dark, public areas of the ship;

         s. Failing to implement reasonable and adequate security policies, security

            measures, and security procedures necessary to protect young. female

            passengers on the subject ship;

         t. Failing to take additional security measures after being put on notice that the

            security measures in force are inadequate;

         u. Failing to reasonably and adequately provide an overall security plan which

            would meet industry standards and customs for safety onboard the subject

            ship;

         v. Failing to implement a method of operation which was reasonable and safe

            and would prevent dangerous conditions such as the one in this case;

         w. Failing to provide security commensurate with the type of business conducted

            therein, namely an isolated party ship where passengers have a reasonable

            and justifiable expectation of feeling safe in all areas accessible to the public

            on the ship; and

         x. Failing to comply with applicable industry standards, statutes, and/or

            regulations which invokes the Pennsylvania Rule and shifts the burden of

            proof to the Defendant in the proof of negligence or proof of the absence of

            negligence.

      51. The breaches of duties of CARNIVAL allowed and proximately caused the incident

         to occur and therefore caused the Plaintiff to suffer injuries and damages. Those

         injuries and damages suffered by the Plaintiff are supported by objective

         symptomatology and/or diagnosis of a mental and emotional disorder.             The

         Plaintiff in this case has suffered and will continue to suffer from PTSD.



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      52. As a result of the negligent infliction of emotional distress, the Plaintiff, JANE

         DOE, has suffered damages and injuries including but not limited to economic

         damages in the past and in the future on a permanent basis including but not

         limited to expenses for medical and psychological care and treatment, household

         and other expenses, past lost income, and future loss of the ability or capacity to

         earn income; and non-economic damages in the past and in the future on a

         permanent basis including bodily injury, pain, suffering, mental anguish, loss of

         the enjoyment of life, physical impairment and disability, inconvenience,

         scarring, and disfigurement, all of which in the past and in the future.

      WHEREFORE, the Plaintiff demands judgment against CARNIVAL for all damages to

   which she is entitled under the General Maritime Law and otherwise including but not

   limited to: economic damages suffered in the past and in the future on a permanent

   basis by the Plaintiff including but not limited to expenses for medical and psychological

   care and treatment, household and other expenses, loss of income, and loss of the ability

   and capacity to earn income in the future; non-economic damages including but not

   limited to bodily injury, pain, suffering, mental anguish, loss of the enjoyment of life,

   physical impairment, disability, inconvenience, scarring, and disfigurement; punitive

   damages; all court costs; all interest which accrues from the date of the incident on all

   economic and non-economic damages under the General Maritime Law; and any and

   all other damages which the Court deems just and proper.


             COUNT IV - VICARIOUS LIABILITY OF CARNIVAL: INTENTIONAL
        INFLICTION OF EMOTIONAL DISTRESS OF PASSENGER BY CREWMEMBER
      53. The Plaintiff JANE DOE, hereby adopts and re-alleges each and every allegation

         in paragraphs 1 through 38, above.




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      54. This is an action for intentional infliction of emotional distress of a passenger by

         a crewmember. The conduct of the perpetrator here was extreme and outrageous.

         The perpetrator intended to inflict emotional distress or was reckless in his

         actions. The intentional or reckless actions of the perpetrator in fact did inflict

         on the Plaintiff extreme emotional distress.

      55. The actions of the CARNIVAL crew and/or employee cleaner were unlawful and

         in violation of criminal statute 18 U.S.C. Sec. 2241 (aggravated sexual abuse).

      56. CARNIVAL is liable and responsible for the intentional infliction of emotional

         distress of the perpetrator under respondeat superior and under the strict liability

         of the cruise line for the criminal, wrongful, and/or violent actions of its onboard

         crew.

      57. As a result of the intentional infliction of emotional distress, the Plaintiff, JANE

         DOE, has suffered damages and injuries including but not limited to economic

         damages in the past and in the future on a permanent basis including but not

         limited to expenses for medical and psychological care and treatment, household

         and other expenses, past lost income, and future loss of the ability or capacity to

         earn income; and non-economic damages in the past and in the future on a

         permanent basis including bodily injury, pain, suffering, mental anguish, loss of

         the enjoyment of life, physical impairment and disability, inconvenience,

         scarring, and disfigurement, all of which in the past and in the future.

      WHEREFORE, the Plaintiff demands judgment against CARNIVAL for all damages to

   which she is entitled under the General Maritime Law and otherwise including but not

   limited to: economic damages suffered in the past and in the future on a permanent

   basis by the Plaintiff including but not limited to expenses for medical and psychological

   care and treatment, household and other expenses, loss of income, and loss of the ability



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   and capacity to earn income in the future; non-economic damages including but not

   limited to bodily injury, pain, suffering, mental anguish, loss of the enjoyment of life,

   physical impairment, disability, inconvenience, scarring, and disfigurement; punitive

   damages; all court costs; all interest which accrues from the date of the incident on all

   economic and non-economic damages under the General Maritime Law; and any and

   all other damages which the Court deems just and proper.


                    COUNT V - VICARIOUS LIABILITY OF CARNIVAL:
                FALSE IMPRISONMENT OF PASSENGER BY CREWMEMBER

      58. The Plaintiff JANE DOE, hereby adopts and re-alleges each and every allegation

         in paragraphs 1 through 38, above.

      59. This is an action for false imprisonment. The perpetrator falsely imprisoned the

         Plaintiff for the duration of his sexual attack on her. The perpetrator restricted

         the movement of the Plaintiff during the sexual attack and would not allow her

         to leave the maintenance closet during that time.

      60. The actions of the CARNIVAL employee cleaner in restricting the movement of

         Plaintiff during and in the course of this sexual attack were unlawful and/or were

         criminal.

      61. CARNIVAL is vicariously liable and responsible for the intentional infliction of

         emotional distress of the perpetrator under respondeat superior and under the

         strict liability of the cruise line for the criminal, wrongful, and/or violent actions

         of its onboard crew.

      62. As a result of the false imprisonment of the Plaintiff, JANE DOE, has suffered

         damages and injuries including but not limited to economic damages in the past

         and in the future on a permanent basis including but not limited to expenses for

         medical and psychological care and treatment, household and other expenses,


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         past lost income, and future loss of the ability or capacity to earn income; and

         non-economic damages in the past and in the future on a permanent basis

         including bodily injury, pain, suffering, mental anguish, loss of the enjoyment of

         life,   physical   impairment   and   disability,   inconvenience,   scarring,   and

         disfigurement, all of which in the past and in the future.

      WHEREFORE, the Plaintiff demands judgment against CARNIVAL for all damages to

   which she is entitled under the General Maritime Law and otherwise including but not

   limited to: economic damages suffered in the past and in the future on a permanent

   basis by the Plaintiff including but not limited to expenses for medical and psychological

   care and treatment, household and other expenses, loss of income, and loss of the ability

   and capacity to earn income in the future; non-economic damages including but not

   limited to bodily injury, pain, suffering, mental anguish, loss of the enjoyment of life,

   physical impairment, disability, inconvenience, scarring, and disfigurement; punitive

   damages; all court costs; all interest which accrues from the date of the incident on all

   economic and non-economic damages under the General Maritime Law; and any and

   all other damages which the Court deems just and proper.


                       COUNT VI - VICARIOUS LIABILITY OF CARNIVAL
                  FOR SEXUAL ASSAULT OF PASSENGER BY CREWMEMBER
      63. The Plaintiff JANE DOE, hereby adopts and re-alleges each and every allegation

         in paragraphs 1 through 38, above.

      64. On the date of the subject incident, CARNIVAL’s employee committed the

         intentional act of aggravated sexual abuse on DOE in violation of 18 U.S.C. Sec.

         2241(a).

      65. CARNIVAL and the subject employee himself made it clear that he was an

         employee. The subject employee was wearing a Carnival badge, detailing his



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         name and nationality. CARNIVAL gave him the job title and gave him unfettered

         access to the pool-deck area. Hence, based on this information it is Plaintiff’s

         information and belief that the subject employee held a position onboard the

         Carnival Miracle.

      66. The actions of the subject employee were willful, intentional, wanton, outrageous,

         and in reckless disregard and indifference for the rights of others and for the

         safety and security of its passengers including the Plaintiff herein and therefore

         are a basis for punitive damages against CARNIVAL under the Restatement

         (Second) of Torts 909 and under the General Maritime Law.

      67. CARNIVAL is vicariously liable and responsible for the criminal acts of its

         crewmember and/or employee under respondeat superior and under the strict

         liability of the cruise line for the criminal, wrongful, and violent actions of its

         onboard crew.

      68. The subject employee’s outrageous conduct committed onboard the ship and in

         the course and scope of his employment are attributable to CARNIVAL, have

         caused the Plaintiff to suffer damages, past and future, including but not limited

         to economic damages including medical, psychological, and other related

         expenses in the past and in the future; lost income in the past and lost income

         and earning capacity in the future; non-economic damages in the past and in the

         future including pain, suffering, disability, physical impairment, scarring,

         disfigurement, mental anguish, inconvenience, and loss of capacity for the

         enjoyment of life. The Plaintiff has suffered these losses in the past and will

         continue to suffer them in the future.

      WHEREFORE, the Plaintiff demands Judgment against the Defendant for damages

   recoverable under the General Maritime Law and state law including but not limited to:



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   economic damages, including medical, psychological, and other related expenses in the

   past and in the future; lost income in the past and lost income and earning capacity in

   the future; non-economic damages in the past and in the future including: pain,

   suffering, disability, physical impairment, scarring, disfigurement, mental anguish,

   inconvenience, and loss of capacity for the enjoyment of life; punitive damages; all court

   costs; all interest due under the applicable law including interest from the date of the

   subject incident under General Maritime Law, and any and all other damages which the

   Court deems just or appropriate.


                                 DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a jury trial on all issues so triable.

      DATED on this 18th day of November, 2019.


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